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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

 

SAFE STREETS ALLIANCE, et al., Civil ACtiOn: NO. 15-349-REB-CBS
Plaintiffs,

v.

ALTERNATIVE HOLISTIC

HEALING, LLC, €t al.,

Defendants.

 

 

DEFENDANTS PARKER WALTON, CAMP FEEL GOOD, AND 6480 PICKNEY, LLCS
ANSWER TO THE PLAINTIFFS’ SECOND AMENDED COMPLAINT #126

 

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COMES NOW, the Defendants, Parker Walton, Camp Feel Good, and 648() Pickney

Road LLC, With this answer to the Plaintiff’s second amendment complaint, #126 on the

court’s ECF system.

1.

Paragraph 1 contains legal conclusions Which do not require an answer. All factual

conclusions are denied, and the final legal conclusion as to scheduling is incorrect.

2.

Paragraph 2 contains legal conclusions Which do not require an answer, Defendants

Would additionally deny any factual allegations

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Denied.

Paragraph 4 contains legal conclusions Which do not require an answer.

Paragraph 5 contains legal conclusions Which do not require an answer.

Admit.

Admitted as to residency, Defendants deny any insinuations of illegal activity.

The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 8 of the Complaint and therefore denied.
Additionally, Safe Streets is no longer a Plaintiff.

The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 9 of the Complaint and therefore denied.
Denied.

The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 11 of the Complaint and therefore denied.
The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 12 of the Complaint and therefore denied.

Admit.

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14. Admit that Camp Feel Good is an LLC in Colorado, that Parker Walton oWns and
controls. Defendant denies leasing. Admits mailing address.

15 . Paragraph relates to dismissed parties.

16 . Paragraph relates to dismissed parties.

17 . Paragraph relates to dismissed parties.

18. Paragraph relates to dismissed parties.

19. Paragraph relates to dismissed parties.

20. Paragraph relates to dismissed parties.

21. Paragraph relates to dismissed parties.

22. Paragraph 22 contains legal conclusions Which do not require an ansWer.
23. Paragraph 23 contains legal conclusions Which do not require an ansWer.
24. Paragraph 24 contains legal conclusions Which do not require an ansWer.
25. Paragraph 25 contains legal conclusions Which do not require an ansWer.

26 . Paragraph 26 contains legal conclusions Which do not require an ansWer.

27 . Paragraph 27 contains legal conclusions Which do not require an ansWer.
28. Paragraph 28 contains legal conclusions Which do not require an ansWer.
29. Paragraph 29 contains legal conclusions Which do not require an ansWer.

30. Paragraph 30 contains legal conclusions Which do not require an ansWer.

31. Paragraph 31 contains legal conclusions Which do not require an ansWer.
32. Paragraph 32 contains legal conclusions Which do not require an ansWer.
33. Paragraph 33 contains legal conclusions Which do not require an ansWer.
34. Paragraph 34 contains legal conclusions Which do not require an ansWer.

35 . Paragraph 35 contains legal conclusions Which do not require an ansWer.

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Paragraph 36 contains legal conclusions Which do not require an ansWer.
Paragraph 37 contains legal conclusions Which do not require an ansWer.
Paragraph 38 contains legal conclusions Which do not require an ansWer.
Paragraph 39 contains legal conclusions Which do not require an ansWer.
Paragraph 40 contains legal conclusions Which do not require an ansWer.

To the eXtent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
To the eXtent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Paragraph 44 contains legal conclusions Which do not require an ansWer.

To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
To the eXtent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Admit that AHH obtained a license to cultivate. The rest of Paragraph 47 contains
factual conclusions Which the Defendants are Without sufficient information to a
form a belief as to the truth of the allegations contained and therefore denied.
Paragraph 48 contains legal conclusions Which do not require an ansWer.
Paragraph 49 contains legal conclusions Which do not require an ansWer.
Paragraph 50 contains legal conclusions Which do not require an ansWer. The rest

of Paragraph 50 contains factual conclusions Which the Defendants are Without

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sufficient information to form a belief as to the truth of the allegations contained
and therefore denied.

51. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 51 of the Complaint and therefore denied.

52. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 52 of the Complaint and therefore denied.

53. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 53 of the Complaint and therefore denied.
In the event that Paragraph 53 holds legal and not factual conclusions, an answer is
not required.

54. Admit as to purchase, denied as to leasing.

55. Admit as to oWnership, denied as to any leasing.

56 . These allegations contain legal conclusions to Which no response is required.

57 . These allegations contain legal conclusions to Which no response is required.

58. These allegations contain legal conclusions to Which no response is required.

59. These allegations contain legal conclusions to Which no response is required.

60. These allegations contain legal conclusions to Which no response is required.

61. These allegations contain legal conclusions to Which no response is required.

62. Admit.

63. Admit as to license granting, Denied as to Mr. Hart’s commentary.

64. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 64 of the Complaint and therefore denied.

65. Denied.

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6 6 . Denied.
67 . Denied.
6 8. These allegations contain legal conclusions to Which no response is required.

69. These allegations contain legal conclusions to Which no response is required.

7 O. These allegations contain legal conclusions to Which no response is required.
71. These allegations contain legal conclusions to Which no response is required.
7 2. These allegations contain legal conclusions to Which no response is required.

73. These allegations contain legal conclusions to Which no response is required.

74. These allegations contain legal conclusions to Which no response is required.

75 . These allegations contain legal conclusions to Which no response is required.
7 6 . These allegations contain legal conclusions to Which no response is required.
7 7 . These allegations contain legal conclusions to Which no response is required.

7 8. These allegations contain legal conclusions to Which no response is required.

79. These allegations contain legal conclusions to Which no response is required.

80. Denied.

81. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 81 of the Complaint and therefore denied.

82. Denied.

83. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 83 of the Complaint and therefore denied.

84. Denied.

85. Denied.

86 . The Defendants are Without sufficient information to form a belief as to the truth

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of the allegations contained in paragraph 86 of the Complaint and therefore denied.
Denied that pigs are odorous animals, they are delightful.

87 . Denied.

88. The Defendants are Without sufficient information to form a belief as to the truth
of the allegations contained in paragraph 88 of the Complaint and therefore denied.

89. Denied.

90. Denied.

91. Paragraph 91 refers to dismissed Plaintiffs.

92. Paragraph 92 refers to dismissed Plaintiffs.

93. Paragraph 93 does not require a response.

94. These allegations contain legal conclusions to Which no response is required.

95 . These allegations contain legal conclusions to Which no response is required.

96 . These allegations contain legal conclusions to Which no response is required.

97 . These allegations contain legal conclusions to Which no response is required.

98. These allegations contain legal conclusions to Which no response is required.

99. These allegations contain legal conclusions to Which no response is required.

100. These allegations contain legal conclusions to Which no response is required.

101. Paragraph 101 does not require a response.

102. These allegations contain legal conclusions to Which no response is required.

103. These allegations contain legal conclusions to Which no response is required.

104. These allegations contain legal conclusions to Which no response is required.

105. These allegations contain legal conclusions to Which no response is required.

106 . These allegations contain legal conclusions to Which no response is required.

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107 . Paragraph 107 does not require a response.

108. Legal conclusions to Which no response is required.

109. Legal conclusions to Which no response is required.

110. Legal conclusions to Which no response is required.

111. Legal conclusions to Which no response is required.

112. Legal conclusions to Which no response is required.

113. Legal conclusions to Which no response is required.

114. Legal conclusions to Which no response is required.

115. Legal conclusions to Which no response is required.

116 . To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

117 . To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

118. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

119. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.

Legal conclusions to Which no response is required.

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120. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

121. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

122. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.

123. Legal conclusions to Which no response is required.

124. Legal conclusions to Which no response is required.

125. Legal conclusions to Which no response is required.

126. Legal conclusions to Which no response is required.

127. Legal conclusions to Which no response is required.

128. Legal conclusions to Which no response is required.

129. Legal conclusions to Which no response is required.

130. Legal conclusions to Which no response is required.

131. Legal conclusions to Which no response is required.

132. Legal conclusions to Which no response is required.

133. Legal conclusions to Which no response is required.

134. Legal conclusions to Which no response is required.

135. Legal conclusions to Which no response is required.

136. Legal conclusions to Which no response is required.

137. Legal conclusions to Which no response is required.

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138. Legal conclusions to Which no response is required.

139. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

140. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

141. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

142. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

143. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

144. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

145. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.

Legal conclusions to Which no response is required.

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146 . To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

147 . To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

148. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

149. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

150. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

151. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

152. To the extent factual allegations, the Defendants are Without sufficient information
to form a belief as to the truth of the allegations contained, and therefore denied.
Legal conclusions to Which no response is required.

153. Denied.

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AFFIRMATIVE DEFENSES

 

A. Failure to state a claim upon Which relief can be granted
B. Assumption of risk

C. Intervening cause

D. Colorado State Statutory Authority

E. Estoppel

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Unconscionability

Contrary to public policy

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. Restraint of trade

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No damages

J. Affirmative relief

K. Laches

L. Statute of Limitations

M. Failure to mitigate alleged damages

DEFENDANTS DEMAND A TRIAL BY JURY

DATED: This 29th day of September, 2017.
Respectfully submitted,

/S Matthew I/V. Buck

Corry & Associates

437 W. Colfax Ave Suite 300
Denver, CO 80204
720-771-4511

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CERTIFICATE OF SERVICE

 

1 hereby certify that on September 28, 2017 , 1 served a true and complete copy of
the foregoing Defendants’ AnsWer to the second amended complaint, upon all counsel of
record through the Court’s electronic filing CM/ECF system.

/S Matthew I/V. Buck

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